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                                      Celebrating Forty Years of Service to the

                                      Community State Nation and the World




                                                                     CCSF-SHIFERAW-015504
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                                             011 64av

  Governor Edmund                    G   Brown    Jr                US   Congresswoman Nancy                     Pelosi

 The   I   lonorable         Willie   L Brown        Jr                     Mayor Edwin              M     Lee

   US       Senator Dianne               Feinstein                              Bernard J Tyson
Lieutenant         Governor Gavin Newsom                                        Dr   Cecil       Williams

   US Senator Kamala D Harris                                                    Dr Jerry Young

 U S Congresswoman Barbara Lee



                              O'ff   a   kwl           cc-mmillee     SKM4 14
           Dr   Ernest       Bates                                         Emely Norris
           Fred Blackwell                                            Rev   Michael           G   Pappas
            Kofi    Bonner                                            Bishop Frank Pinkard

   Kimberly          K       Brandon                                SF Supervisor        Ahsha           Safai


SF Supervisor            London Breed                                        Rita    R Semel
SF Supervisor             Malia Cohen                                 Timothy        A Simon             Esq
  Alphonso          Campbell Sr                                 Rabbis     Jonathan                Beth    Singer

            Stevon        Cook                                       Rev Dr      J Alfred Smith Sr

           Cleo    Cummings                                                  David       H       Stull


             Lloyd       Dean                                              Kailani       Thomas
   Rev      Michael          Gilmore                                       Preston       1   Turner

       Dr Roland Gordon                                               Anthony        G   Wagner Sr
Dr Frederick             D   Haynes        III                             Shanell Williams

    Dr Mary Ann                  Jones                                     Dr   Leslie       E Wong
  Dr Kenneth P               Moriteiro                                      Brenda Wright




       Gordon Greenwood                     Esq                             Dorothy Henderson
                   Event         Chair                                               Betty Jones
                                                                                Kristine         Knockurn
                                                                                     Viola Lewis

                    Co-Chairs                                                   Virginia Marshall
            Amelia Ashley Ward                                                    Emmit Powell

                   Cassie        Cook                                                Karen Roye
                                                                                Rev James Smith
                  Laverne         Baker                                              Shari Taylor

                   Alma Bland                                              Je2nette      Dupas Walker
                  Cleo   Cummings                                               Tom my Winston
                  Ethel      D   Ellison

                   Artie      Guidry




                                                                                                         CCSF-SHIFERAW-015505
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               on
                                     1399 McAllisfer     Streef    Son Francisco CA Telephone                  4   15   346-4426 Ext 2 10

                                                       email dr broLun thirdbaptisifoundationinc-sf org




           C   Con



September         8   2017




                                                                                                                                    Gordon         Greenwood Esq
Dcar       Friends and Colleagucs



In    the    spirit    of service           the   40th    Anniversary Committee                      welcomes           you We    have    worked          quickly    and

tirelessly to         create     a   program that not only celebrates                       forty   years of pastoral service          but that also highlights

more than one hundred                     sixty-five     years      of    ministry provided              to   the San Francisco community the nation

and the world God has been gracious and merciful                                      to   Third Baptist Church             but God has also been relentless

consistently          urging         continued      service through             the best worst and most challenging                      times



When         Dr Brown and Mrs Brown arrived                              in   San Francisco         in   1976       they brought    with them a love           for   the

community and               a   dogged determination                to    ensure that the blessings available to God's children throughout

the rest of the world were also provided                            to    every person within shouting                     distance of Third Baptist Church

It   is    in this spirit       that    we welcome you              to    the pastoral         celebration          designed to celebrate           the   people-tbe

people that the Browns love the people the Browns                                          have served and the people            who     have an absolute right

to   the tree of life           There could be no celebration without your presence                                     and participation          We   thank you for

joining us as          we   highlight forty years of pastoral                        service



We        pray that during this service your minds will                              be stimulated and your souls will              be stirred In the         end we
                                                                                                                                                            the words
pray that your experience                                                 bring you closer to God's purpose for your
                                             this   evening will                                                                            life     that

of   the Holy scriptures will come alive                      in   your       life   and lead you        to   serve your community as Rev Brown                      and

Mrs Brown             have served           our community God bless                    you


Spiritually       yours




Gordon Greenwood                      Esq
Chairman
40th Anniversary                Culminating Event




                                                                                     Web0e
                                                              thirdbaptistfoundationinc-sf                    org




                                                                                                                                          CCSF-SHIFERAW-015506
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               The 42 n1 President of the United                                                                                                               States

                                                            William Jefferson Clinton


                                                             W
                                                             died in an
                                                                         illiam

                                                                         on August
                                                                                   Jefferson




                                                                                automobile
                                                                                             191946
                                                                                                      Bill

                                                                                                             in


                                                                                                      accident
                                                                                                                  Clinton

                                                                                                                  Hope Arkansas
                                                                                                                        In
                                                                                                                               was born William Jefferson Blythe
                                                                                                                                                 three months

                                                                                                                                                  he took          the
                                                                                                                                                                           after


                                                                                                                                                                          name
                                                                                                                                                                                       his

                                                                                                                                                                                      of his
                                                                                                                                                                                                    III


                                                                                                                                                                                               father

                                                                                                                             high school                                                        step

                                                             father Roger              Clinton of Hot Springs                  Arkansas            Bill      Clinton      graduated from

                                                             Georgetown                University       and was awarded                   a    Rhodes         Scholarship             to     Oxford

                                                             He received           a   law degree from Yale University                            in   1973        After gi-aduation                be

                                                             returned        to    Arkansas           and taught             law    at   the    University         of Arkansas before

                                                             entering       politics          His    1974 campaign                 for   Congress ended              in    defeat            but two

                                                             years later he was elected                   Arkansas Attorney General


                                                             In     197S    Bill   Clinton married Hillary                     Rodham whom                   he had rnet while a law

                                                             student       at   Yale In 1980            Chelsea          their      only child was born



                                                             Bill    Clinton       was        elected                         of Arkansas              in   1978     but        lost a       bid    for
                                                                                                         governor
reelection         in      1980 He          regained the governorship                          two years      later      and served            until    1993 Duringhis 12years
in   office    Governor Clinton earned national recognition                                              for his       progressive             programs         especially            his efforts

to   improve the quality of public education


After a tough primary campaign                                    Bill   Clinton       won      his party's        nomination and went on                       to   defeat          Republican

President George Bush and independent                                       candidate Ross Perotin the 1992 presidential race                                             When         President

Clinton       won          reelection        in    1996        he became           the       first   Democrat since Franklin                      D    Roosevelt          to    win      a   second

term



Following          the early failure of his health                           care reform initiative                      President        Clinton pursued                  a    moderate but

progressive             domestic            agenda           Duringhis tenure the welfare                              system was             reformed the               sale    of   handguns
was restricted                 environmental                 regulations           were strengthened                     and       a   massive federal               budget          deficit       was

turned     into        a   surplus



On the international scene the Clinton Administration expanded international trade intervened                                                                                            militarily

to   end ethnic cleansing                         in    Bosnia launched peace and trade                                initiatives       in    Africa       and the Middle East and

promoted           a    framework            for
                                                       peace aimed at ending the strife                           in   Northern          Ireland



Bill    Clinton        left   office      with historically high approval                             ratings      for   the job he had done                  as   the 42nd President

of   the United States



In     the years since                             office           President      Clinton           has dedicated            his      time to leading the development                              of
                                  leaving

global     initiatives          through            his      Foundation             The       staff    and volunteers               of    the William J Clinton                    Foundation

focus     on programs                of   community service                     drug acquisition              for      HIVAIDS treatment and                         fighting         childhood

obesity       in   the United             States The Clinton Global Initiative                            garners the expertise                        of leaders from around the

world     in   addressing global issues of health care education                                              clean       energy and environment job training and

entrepreneurship                 in    under-developed                    countries



Outside        of his         Foundation               President         Clinton        has worked           alongside             former Presidents George                          H     W    Bush
and George             W      Bush     in   disaster relief              efforts       for   the tsunami in South                  Asia Hurricane Katrina                       in    the     United

States and the earthquake                              in   Haiti




                                                                                                                                                               CCSF-SHIFERAW-015507
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                                               Rev Brown's Message
We     are     gathered             for    a     historic        celebration          of 40         years   as        pastor    and      people           We     have      many outstanding
accomplishments                     that   we     are grateful           to   have     had        the   opportunity       to    lead However                celebrations          last      for   only a

fleeting      moment The                   struggles        of   life    goes    on from one             generation       to the        next


While        we    ai-e      grateful      for    what      we    have        been    able to build         in    fout   decades          our focus         is   on the future               We    invite

                   to   join       in   recommitting             our time         talents         and    resources       to the    continuance              of the      successful
everyone                                                                                                                                                                                     programs
that   have        been       built     through        our community's sweat and tears including Back on Track                                                    The Charles               A   Tindley

Music        Acaderny           and the Sons of the Prophet                          Forum We             must    also    commit         to    continuing our advocacy                       for social

         and                                                                                 and prornoting African American culture                               and herita0c
J ustice                     respecting celebrating
                        to                                               protecting



Wewantto send                  a    humble thank you forthe love andsupport ofThird Baptist our bcnefactors                                                               the faith     community
and    all   the   people          who     have been trying to build                   a    better      community and world                   We     wish to thank          Rev       James Smith

Artistic      Directory             ofthe        Charles         A      Tindley Acaderny                 of Music         committee chairs                  Deacons             Anthony Wagner
and Atty Gordon                     Greenwood               Trustee       CassicCook my                   dear wife Jane the               church office           staff        and    maintenance

personnel and                 the   entire       Third      Baptist       faindy who joined                     with    the    Christian           Education       Ministry chairpersons

Cleo     Cummings                   Karen       Roye Deacon                   chairperson          Alphonso Campbell and Trustee                            Chairman             Preston          Turner

respectively             for   making           this   a    day that will            last    in   our mernory as long                  as the       cords   ofmernory             shall      lengthen

Thanks        to   Congregation                Emanu-El              past Rabbis and present Rabbis Jonathan and Beth                                            Singer


We     also    want to send a heartfelt thank you to President                                           William Jefferson               Clinton          Gov     Edinund         G         Brown and

former       Gov        Arnold          Schwarzenegger                  for taking          the    time to come celebrate with                      us Dr        Frederick        D     Haynes          III


for his                 of'faithful                        his   prophetic        ministerial           leadership       and for preaching                 tonight        Also special thanks
             years                         caring

to   Rev Arnold'fownsend Rev                                Jesse       Jackson       Finally       we    can    never say too much                   for the    love      and counsel             of our

Master       of Ceremonies Former Mayor Willie Lewis                                               Brown        Jr




                                                                                                                Dr     Frederick Douglass                        Haynes               III




                                                                                                                Frederick       Do     uglass       Haynes III             is   a prophetic            pas
                                                                                                                tor    passionate         leader social activist                      and eloquent

                                                                                                                orator and educator                   engaged        in    preaching            the
                                                                                                                                                                                                       gos

                                                                                                            pel of Jesus Christ fighting against racial                                      injustice


                                                                                                                                        economic justice and empowerment
                                                                                                                committed         to                                                                     in

                                                                                                                under-served            communities and touching                            and trans

                                                                                                            forming            the lives      of    the   disenfranchised



                                                                                                                For 31 years            Dr Haynes            has served as a visionary

                                                                                                                and     innovative            senior pastor               of Friendship-West

                                                                                                                Baptist
                                                                                                                               Church         in    Dallas        Texas          Under          his    ser

                                                                                                                vant leadership               the    ministry and membership have

                                                                                                                                              than        100 members in 1983                          over
                                                                                                                grown from         less                                                           to


                                                                                                                12 000




                                                                                                                                                                   CCSF-SHIFERAW-015508
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Procession      Organ    Prel   Ude     Joshua Fit the Battle ofjericho                                                                  Fela   Sowande


Welcome        Introduction     of    Master of     Ceremonies                                                      Gordon Greenwood                   Esq
                                                                                                                         Culminating Event           Chair



Master of Ceremonies                                                                                      The Honorable             Willie    L Brown   jr

                                                                              41st Mayor of the City and County of San Francisco



Opening Ilymn        Lift   Ev'ry Voice          Sing                                            Charles Albert Tindley               Children's Choir

                                                                 Music J Rosamond Johnson Lyrics James Weldon Johnson


Invocation      Prayer of Affirmation                                                               i                i              Dr Roland       Gordon

                                                                                     Senior Pastor            Ingleside Presbyterian                Church


Presentation    of the 42nd President of the

United   States of America                                                                                The Honorable Edniund                 G   Brown

                                                                                                          Governor       of   the   State of California




Presidential   Address                                                                     The          Honorable William Jefferson Clinton

                                                                                   42nd President            of   the United         States   of   America


Musical Selection        The Lord      Is   My   Light       i                 i             i
                                                                                                        Dr Amos     C    Brown Heritage Chorale

                                            Composer Frances           Allitsen Soloists Jeannine                 Anderson            Henrietta      Davis



                                                           Reflections               I


                                                         Derrick    Johnson Esq
                              Interim President            Chief Executive         Officer       National    NAACP
                                                           Bernard J Tyson

                                                  Chairman        Chief Executive         Officer

                              Kaiser Permanente Foundation Health                     Plan Inc             Hospitals
                                                           Harold Martin Jr
                                                 Interim President Morehouse               College

                                                                 Naomi    Kelly

                                                  San Francisco        City   Administrator

                Representing         The Honorable Edwin           M   Lee Mayor          City      County        oj'San   Francisco

                                            The Honorable Arnold Schwarzenegger
                                              38th Governor of the State of California



Musical Selection       How     Firm A Foundation                             Dr Amos      C     Brown Chorale Roland                  Pickens Soloist

                                                                       Arranged by Rev James Smith Soloist Roland                                  Pickens



                                                          Reflections                11


                                                            Brenda Wright
                                            Senior Vice   President       Community Relations
                                                            Wells Fargo Bank




                                                                                                                              CCSF-SHIFERAW-015509
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                                                           Program
                                                                Continued


                                                Rabbis Jonathan           Elizabeth Singer

                                                          Congregation Emanu-El

                                                          Dr J   Alfred   Smith Sr
                                  Pastor Emeritus Allen Temple Baptist               Church Oakland CA
                                                          Rev Michael       Pappas
                                                    San Francisco      Interfaith    Council

                                                          Dr   Jesse Louis Jackson

                                             Founder      President    Rainbow      PUSH      Coalition




Historical    Landmark Designation                                                                                              London Breed

                                                                                  President San Francisco Board of Supervisors



Offering      Acknowledgments                                                                                 Anthony    Wagner Sr Deacon
                                                                                              Preston Turner Chair Trustees Ministry

                                                                  Doxology


                                                           Reflections            III

                                                                 David    Stull


                                          President    San Francisco      Conservatory of Music

                                                               Alice   Huffman
                                              President   California   State      Hawaii NAACP

                                                           Alphonso Campbell
                                                          Chair Deacons     Ministry

                                                               Rev Shane    Scott

                                         Senior Pastor     Macedonia      Church Los Angeles CA



Scripture                                                                            Rev Beverley         Philllips     Third Baptist Church

                                                                   Amos    5



Musical Selection          Even    Me                                                             Dr Amos       C   Brown Heritage Chorale

                                                                         Arranged       1jy   Michael   H     Reid Soloist Henrietta      Davis



Son   of   the Prophets                                                                             Dr Frederick        Douglass     Haynes   III


                                                                   Senior Pastor Friendship             West Baptist Church Dallas TX



Musical     Selection      Jesus   Is   My   King                                                 Dr Amos       C   Brown Heritage Chorale



Expressions      of   Gratitude                                                               Dr Amos     C   Brown       Mrs   Jane   E Brown


Benediction                                                                                                         Dr Jacqueline    Thompson
                                                                                    Assistant     Pastor Allen Temple Baptist Church

                                                                                                                                    Oakland CA




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                                                Master of Ceremonies
                                                             Willie              L       Brown                    Jr




Two-term            Mayor       of   San Francisco          legendary     Spcaker           of the California State Assembly and widely regarded

as    the most influential African American                          politician         of   the late twentieth             century          Willie       L Brown        Jr has

been     at    the    center         of California        politics   government and                  civic   life   for    an astonishing               four    decades        His

career spans the American                        Presidency from Lyndon Johnson                         to   George        W   Bush and he has worked                      with

every California              Governor from Pat Brown                to   Arnold Schwarzenegger                      From      civil    rights to        education reform

tax   policy economic development                           health care international trade domestic partnerships and affirmative

action        he's   left     his   imprimatur on every aspect of                     politics   and public policy             in   the Golden            State



Brown served                over 30 years            in   the California     State      Assembly spending                  IS years as            its    speaker and later

served        as the 41st mayor of San Francisco                      the   first      African American             to do so Under the current California

term-limits law no Speaker                       of the     California    State       Assembly        will   be permitted to have a longer tenure than

Brown's



As Mayor of             California's        most cosmopolitan               city      he refurbished              and   rebuilt        the   nation's          busiest   transit


system pioneered the use                        of   bond measures          to   build affordable            housing        created          a   model juvenile          justice

systern and paved                   the
                                          way   for a     second campus          of   the University         of   California San Francisco                     to   serve as the

anchor        of a   new development                 that will position the City as a center for the burgeoning                                  field    of biotechnology

Today     he     heads         the Willie       L Brown        Jr Institute an Politics               and Public Service where                          this   acknowledged
master of the           art    of politics shares his knowledge                       and   skills   with a       new     generation         of California           leaders



The San Francisco                   Chronicle called         Brown one       of       San Francisco's most notable                     mayors who had                 celebrity

beyond        the    city's   boundaries




                                                                                                                                                  CCSF-SHIFERAW-015511
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Thank You

                                             Benefactors
                                                    FivePoint

                          San Francisco Police           Officers    Association

                                        Vitas Hospice Services           LLC
                                             Dr Jonathan    Butler

                                              Rev James Smith


                                                Patrons
   Matthew Almonte Linda Coleman                                                Jason Henderson

        Eddie      Laverne        Baker                                   Rev Aubrey           Viola Lewis

   Samuel Bennett       Kristine     Knockurn                                Bill   Liang     Phillip   Dou

                Alma Bland                                                          Eliska    Mobley
           Dr Charles Booth                                                  Dr Kenneth Monteiro

          Catherine       Bradford                                                  Jennye Morgan

Kimberly Brandon          Timothy Simon Esq                              Carol O'Gilvie Justin Winfrey

               Leona Bridges                                                  Rev Portia Osborne

               James Bryant                                                         Roland    Pickens

          Cahill   Construction                                                       Naya Ross
              Vasteen     Caldwell                                 San Francisco       Conservatory       of   Music

     Alphonso         Dianne      Campbell                                          Rabonni     Selah

                 Betty Chin                                                          Tim Shelton

Community Alliance         for   jobs     Housing                            Annie Snoddy-Bradford

     Cassie   Cook Dorothy          Howell                      Tabernacle    COMMUnity Development Corp
                Sheryl Davis                                        Dr     Mrs      Allen Turner Bobby Sisk

              Ethel   D   Ellison                                                   Mary Twegbe
          Mark          Joyce Gray                                                   Donald    Waits

               Kendra     Griffin                                                   Lorene Walker

                Tracy     Griffin                                            Hiawatha Washington

                Artie Guidry                                                   LaZelle       Westbrook

         Dorothy Henderson                                      West Bay Local Development               Corporation

         Udo       Sandra        Kaiser                             Tommy       Winston Tekeste          Habtom

                Diane     Kruze




                                                                                                   CCSF-SHIFERAW-015512
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                                                 ACKNOWLEDGIVIENT5
      THIRD            BAPT15T
                                                          Sun Reporter         Publishing    Company
  FOUNDATION INC
                                                               40th Anniversary       Committee


Executive Officers Board of Directors            40th Anniversary                                   Committee
                                                                       Culminating Event


           Dr Amos     C Brown    Sr                              Amiee D'maris Events
                 Chairman
                                                                       Blare Media

                 Cassie Cook
                                                                   Auintard Henderson
                 Treasurer
                                                                  Photographer       At Large


              Cleo    Cummings
                                                                     Jamie Muntner
                 Secretary

                                                                          Perla Silva
            Dr Jonathan      Butler

            Executive    Director                        Master Winstons          Superior    Security


                                                      SF Alliance of Black School            Educators

                 Directors
                                                                          Karen Roye

               Laverne    Baker
                                                                     Othello Jefferson
            Catherine    Bradford

               Jane    E Brown
                                                                    Virginia Marshall
            Alphonso     Campbell
              Peter    Cohn Esq                                       Anna Karney
              Linda Lawrence                             San Francisco     Unified School       District

               Carol O'Gilvie

              Preston Turner                                          Dorothy Cook

            Alexander Williams

               Dorothy Word
                                                  Thank you for donating                to   our    effort to


                                                  help    us    realize    a    healthier     community

                                                  The proceedsfrom               this event will     enable


                                                  our organization             to continue     to   enhance

                                                  our educational              programs such          as the
       Third Baptist   Foundation      Inc

          1399 McAllister Street                  Back on Track           after school       tutorial    pro
         San Francisco    CA 94115
                                                  gram      the   Summer Freedom School                    The
     Telephone    415346 4426          Ext   0

                     Email
                                                  ChariesA Tindle Y Acudemyof Music and
drbrown thirdbaptistfoundationinc-sf org
                  Website                         help to preserve         this historical       site

     thirdbaptistfoundationinc-sf       org




                                                                                      CCSF-SHIFERAW-015513
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                                                  Sponsors
 Gold




                                        KAISER PERMANUFFE IVII


  Silver


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                                 c C Dignity Health
   Bronze


                                           Sutter Health


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 G r a n d BC         1-1   ce   I   C LO-0 r s




                                     The
                     California
                             Endowment
                                                                 Friendship West

 Premiere Benel'actors                                            RTPTI-srcrU-rch7




Harold    borganey                                         Rev Shone   Scott

Rev     Dr Amos   C rcwn    Sr       Mrs Jane   E brown    Rev AnIhony   Trufant
Dixie   Hornbg




                                                                                     CCSF-SHIFERAW-015514
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                                                       rIN




        Rev Dr Amos                 C    Brown
               Mrs       Jane    E    Brown




                                                         CCSF-SHIFERAW-015515
